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                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                         ABINGDON DIVISION


UNITED STATES OF AMERICA    )
                            )
                            )                       Case No. 1:08CR00024
                            )
v.                          )                       OPINION AND ORDER
                            )
BRUCE EDWARD BAUMGARDNER )                          By: James P. Jones
AND DOUGLAS LEE STALLWORTH, )                       Chief United States District Judge
                            )
        Defendants.         )


      Zachary T. Lee, Assistant United States Attorney, Abingdon, Virginia, for
United States; Dennis E. Jones, Dennis E. Jones & Associates, P.C., Lebanon,
Virginia, for Defendant Bruce Edward Baumgardner; and Timothy W. McAfee,
Timothy W. McAfee, PLLC, Norton, Virginia, for Defendant Douglas Lee Stallworth.

      In this criminal case, after being convicted by a jury of drug crimes, both

defendants have filed posttrial motions seeking a new trial or acquittal. For the

reasons that follow, I will deny the motions.



                                            I

      The defendants Bruce Edward Baumgardner and Douglas Lee Stallworth were

convicted by a jury in a joint trial of knowingly conspiring to distribute and to possess

with intent to distribute fifty grams or more of crack cocaine, in violation of 21

U.S.C.A. §§ 841(b)(1)(A), 846 (West 1999 & Supp. 2009). Additionally, the jury
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convicted Baumgardner of knowingly maintaining a place for the purpose of

distributing a controlled substance in violation of 21 U.S.C.A. § 856(a)(1) (West

Supp. 2009). They now move for a new trial or acquittal.

       Fifty-one defendants were charged in this case for offenses relating to the

distribution of crack cocaine. Following the Indictment, the defendants were severed

into four separate groups for trial. Most of the defendants eventually pleaded guilty,

and as to those who went to trial, all but one were convicted by juries.

       At the second trial, which involved Baumgardner and Stallworth, codefendants

Paul Vaughn and Derrick Evans testified for the government. The government

contended that Baumgardner and Stallworth had served as low-level street

distributors in a large, multifaceted drug trafficking conspiracy. Baumgardner and

Stallworth argued that they were only drug addicts, not conspirators.

       After Baumgardner and Stallworth were convicted, Vaughn and Evans began

to recant their trial testimony and have moved to withdraw their guilty pleas. Because

of that, on June 18, 2009, I held an evidentiary hearing where Vaughn and Evans

testified.




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      In their posttrial motions currently before the court,1 Baumgardner and

Stallworth raise three issues: (1) whether both defendants deserve a new trial on the

basis of the recanting statements made by Vaughn and Evans; (2) whether there was

sufficient evidence to convict Baumgardner and Stallworth of conspiracy to

distribute, to attribute fifty grams or more of crack cocaine to Stallworth, and to

convict Baumgardner of maintaining a place for drug distribution; and (3) whether

an alleged Brady violation merits a new trial.

      These motions have been briefed by both defendants and are now ripe for

decision. I will address them in turn.



                                          II

      Under all the circumstances, including my opportunity to preside at all of the

trials and hearings in the case and my review of the extensive record, I do not believe

that either Vaughn or Evans fabricated their prior trial testimony.




      1
        Baumgardner filed a Motion for Judgment of Acquittal or for a New Trial and a
Memorandum in Support of Motion for a New Trial. Stallworth filed a Motion for Judgment
of Acquittal or for a New Trial, Motion for New Trial, Second Motion for New Trial, and
Memorandum in Support of Motion for New Trial.

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                                            A

       Early in this case, Vaughn and Evans agreed to cooperate with the government.

Vaughn testified at the Grand Jury proceeding. They each signed plea agreements

and testified consistently at trial. In advance of the fourth trial, however, Vaughn and

Evans sent letters to the court recanting their prior testimony. At the evidentiary

hearing, Vaughn and Evans testified and affirmed statements made in their letters.

                                            1

       Vaughn and Evans provided detailed testimony for the government. Vaughn

testified before the Grand Jury and at the first and second trials. Evans testified at the

first three trials.2

       On May 28, 2008, Vaughn testified before the Grand Jury. He acknowledged

that he was “currently charged in [the] case and [was] subject to being indicted

. . . [.]” (Hr’g Gov’t Ex. 1 at 3, June 18, 2009.) He knew that he could be charged

with perjury if he told “a willful falsehood to the Grand Jury.” (Id. at 4.)

       Vaughn told the Grand Jury that Derrick Evans, Oedipus Mumphrey, Kerry

Lee, Charles King, Tyree Slade, Marcus Watkins, Andre Watkins, Reginald Morton,


       2
          The first trial, which began on October 6, 2008, involved defendants Anthony
Eugene Duty, Robin Marie Davis, and Evans’ wife, Christine Evans. The second trial, which
began on October 27, 2008, involved defendants Stallworth and Baumgardner. The third
trial, which began on December 15, 2008, involved Travis Dell Jones and Brian Kendall
Morrison.

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Emanuel Morton, and Brian Morrison traveled from Burlington, North Carolina to

Bristol, Virginia, and Bristol, Tennessee, to sell crack cocaine. Vaughn explained

that Evans had provided Watkins and Mumphrey locations from which to distribute

crack cocaine. Mumphrey sold crack at a Bristol motel. Vaughn acted as a lookout.

Reginald Morton and his girlfriend Jessica Rodriguez, an individual named Drake,

and Candace Maynard helped deliver the crack for Mumphrey.

      On his first trip to the Bristol region, Vaughn and others encountered law

enforcement. Vaughn, Mumphrey, Reginald Morton, Emmanuel Morton, Drake, and

Rodriguez traveled to Bristol from Burlington in three separate cars. While at a

motel, law enforcement officers searched one of the cars. In it they found materials

used to transform powder cocaine into crack cocaine, including a hot plate and a

scale. Officers did not search the car driven by Rodriguez, a gold Buick, which

contained two kilograms of cocaine. After this, Vaughn and the others returned to

Burlington.

      On a different occasion, Mumphrey paid Vaughn $1,000 to drive him to

Bristol. They went to a mobile home on Anderson Street in Bristol, Tennessee to sell

crack. Vaughn again served as a lookout. In November, 2007, a mobile home in the

neighborhood caught on fire. Several law enforcement and emergency personnel

arrived at the scene. While outside, Mumphrey and Vaughn were approached by two

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officers. They gave the officers false names, leading to their arrest. The officers

found the keys to Mumphrey’s grandmother’s car, which Mumphrey was driving, and

searched it. In it, they discovered crack cocaine.

      Vaughn described a dispute he had with Mumphrey after their arrest.

Mumphrey bailed Vaughn out of jail. He then asked Vaughn to take his gun back to

North Carolina in a separate car. Vaughn refused. In retaliation, Mumphrey

assaulted Vaughn and kicked him out of his mobile home. Vaughn returned to North

Carolina alone.    Later, in Burlington, Mumphrey insisted that Vaughn take

responsibility for the drug charge that had resulted from the arrest in November,

2007. Vaughn again refused. Again in retaliation, Mumphrey struck Vaughn in the

ribs with a wrench and knocked him unconscious.

      During his Grand Jury testimony, Vaughn provided information about specific

individuals. Lee traveled to Bristol from Burlington to supply cocaine to various

distributors. At first, he operated from Mumphrey’s mobile home, but then moved

to Frederick Cato’s house, where he was eventually arrested. Vaughn described one

occasion when Lee gave him $18,000 to give to Mumphrey for a half-kilogram and

a “big eight[,]” which he defined as four-and-a-half ounces. (Id. at 18.)

      Vaughn identified various associates and customers of Mumphrey.

Baumgardner bought a quarter-ounce of crack from Mumphrey at least four or five

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times a day. Shantha Calhoun visited Mumphrey to buy half-ounces of crack, and

then resold it. Defendant Stallworth bought small quantities of crack from Mumphrey

at his mobile home on Anderson Street. Vaughn stated that Stallworth “was a good

customer.” (Id. at 21.) Marcus Watkins regularly bought two ounces of crack from

Mumphrey. Marcus Watkins’ girlfriend, Le Ann Berry, was “real, real tall” and acted

as Watkins’ runner. (Id. at 22.) Vaughn observed Mumphrey sell a half-ounce to

King and give a half-ounce to Andre Watkins. Mumphrey also supplied Brian

Morrison. Tyson Anderson and Tamaray Lea worked as lookouts for Mumphrey and

Marcus Watkins. Additionally, Vaughn testified that Lee and Mumphrey ran Evans’

drug business while Evans was in jail. Vaughn knew that some of the individuals

who traveled from Burlington to Bristol had worked for Evans’ recording label called

“Kant Stop Records,” and had a reputation for dealing drugs.

      On May 28, 2008, the Grand Jury returned the Indictment. Over the following

four months, Vaughn and Evans signed plea agreements with the government. Under

the terms of each Plea Agreement, Vaughn and Evans agreed to plead guilty to the

conspiracy charge and to cooperate with the government and disclose their

knowledge of any criminal activity. In return for Evans’ cooperation, the government

agreed to dismiss two of his three prior North Carolina felony drug convictions from

a Sentencing Enhancement Information, a benefit that reduced the applicable

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statutory mandatory minimum sentence from life imprisonment to twenty years. See

21 U.S.C.A. § 841(b)(1)(A) (providing for mandatory minimum sentence of twenty

years if there is a prior felony drug conviction and for a mandatory minimum sentence

of life imprisonment without release if there are two or more prior felony drug

convictions) and 21 U.S.C.A. § 851(a)(1) (West 1999) (providing that a person

cannot be sentenced to increased punishment by reason of one or more prior

convictions unless government files information stating the previous convictions to

be relied upon). In Vaughn’s Plea Agreement, the government agreed to do the same

with respect to one of Vaughn’s two prior North Carolina felony drug convictions.

      I accepted the pleas of Vaughn and Evans at their guilty plea hearings. They

confirmed that they had had an adequate opportunity to discuss their case with their

attorneys, and to read and discuss the Plea Agreements with their lawyers. They

stated that they were fully satisfied with their lawyer’s representation. The terms of

each Plea Agreement were summarized by the prosecutor and Vaughn and Evans each

agreed that those terms were included as they understood their agreements. They

agreed that no promises had been made to them other than those contained in their

Plea Agreements, and that no one had attempted in any way to force them to plead

guilty.




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      After I accepted their plea of guilty, Vaughn and Evans appeared for the

government at subsequent trials of their codefendants and gave consistent testimony.

They demonstrated a detailed understanding of their Plea Agreements with the

government, explained their background in drug distribution and their involvement

in the charged conspiracy, and testified about their relationship with other defendants

and the extent of their criminal activity.

      First, Vaughn and Evans each acknowledged the terms of their Plea

Agreements. They understood that they faced a mandatory minimum sentence of

twenty years in prison and that they could potentially receive a life sentence. They

affirmed that the government had not promised them anything for their cooperation.

They hoped for leniency, but understood that their sentence would be set by the court,

and not the government.

      Next, Vaughn and Evans each described how they became involved with the

distribution of crack cocaine in Burlington. Vaughn testified that Mumphrey had

introduced him to crack distribution and that through Mumphrey he had met Evans,

Lee, and Marcus Watkins. The lucrative drug trade enticed Vaughn. Mumphrey gave

him his “first pair of Jordans.” (Duty Trial Tr. 65, vol. I, Oct. 7, 2008.)3 Vaughn



      3
         The “Duty Trial” refers to the trial of Duty, Davis, and Christine Evans. The
“Stallworth Trial” refers to the trial of Stallworth and Baumgardner.

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stated that Evans “would basically man handle somebody, or take their drugs, or sell

at their spot . . . .” (Id. at 66-67. ) Lee would “front” drugs to distributors, which

meant that distributors would obtain drugs from Lee in advance of payment. (Id. at

67.) Mumphrey supplied crack to Marcus Watkins, who then sold it. Evans testified

that in Burlington, he was a “go getter,” which meant that he robbed drug dealers of

their supply and sold it to other drug dealers for a less expensive price. (Duty Trial

Tr. 181, vol. II, Oct. 8, 2008.)

      Finally, Vaughn and Evans each testified about their drug dealings in Bristol

and about their relationships with other drug dealers. Vaughn explained that he had

made several trips to Bristol with Mumphrey. As to the Grand Jury, Vaughn related

the story about his encounter with law enforcement at the motel, except he added that

once they had returned to Burlington, Mumphrey had given Reginald Morton

thirteen-and-a-half-ounces of cocaine out of the supply. Mumphrey returned to

Bristol without Vaughn and sold the remainder.

      Vaughn testified that he and Mumphrey initially sold crack from various motels

in the Bristol area. Vaughn acted as a lookout. He watched for police while

Mumphrey distributed the crack. Mumphrey regularly met with Stallworth and

Stallworth bought quarter-ounces of crack on a regular basis. Then, Mumphrey

established a distribution point at a mobile home on Anderson Street in Bristol,

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Tennessee. Again, Vaughn testified that he had been a lookout at the mobile home.

Both Baumgardner and Stallworth bought crack from Mumphrey at the mobile home.

Stallworth bought “fifties” and eight-balls (3.5 grams). (Stallworth Trial Tr. 108, vol.

I, Oct. 28, 2008.) Vaughn explained that a “fifty” was “a fifty of a quarter ounce, like

half a gram” and that a “hundred rock” was a gram, “$100 worth of cocaine.” (Id. at

108-09.) Baumgardner bought quarter-ounces three or four times a day and was

Mumphrey’s “VIP.” (Id. at 107.)

      Vaughn accounted for the circumstances of his arrest in November, 2007, just

as he did in front of the Grand Jury. He added that the police had found $3,000 on

him, which he stole from Mumphrey. He testified that Berry, who was known as

“Seven [F]ooter,” purchased crack from Mumphrey and delivered it to her boyfriend

Marcus Watkins. (Duty Trial Tr. 77, vol. I, Oct. 7, 2008.) As he did to the Grand

Jury, Vaughn explained that on one occasion, Lee had given Vaughn $18,000 to give

to Mumphrey for half a kilogram and a “big eight.” (Id. at 78.)

      Evans testified that one of his drug robbery victims had eventually retaliated,

causing him and his family to move to Johnson City, Tennessee, near Bristol. Once

there, Evans’ cousin, Alexander Poole, introduced him to Stallworth. Stallworth

convinced Evans to move to Bristol, because           it was “wide open” for crack

distribution. (Stallworth Trial Tr. 13, vol. I, Oct. 28, 2008.) Evans established his

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first distribution point in Bristol, Virginia.    Thereafter, Stallworth acted as a

middleman between Evans and other users.

      Evans explained that he had had two main sources of supply: Bryant Kelly

Pride and Lee. Evans brought Pride to Bristol, after Pride was released from prison

in North Carolina. They sold crack out of a house on Texas Avenue. No dealer

trusted Evans, given his history of drug robberies, so Pride traveled alone to purchase

their product. Evans purchased kilograms of cocaine from Pride, which Evans then

distributed to the customer base that he had established in the area.

      Evans stated that at some point, Evans and Pride had traveled to Atlanta. Lee,

a cousin to Evans, traveled from Burlington to Bristol to take Evans’ “spot,” meaning

that while Evans was in Atlanta, Lee sold drugs from the same house that Evans used

as a distribution point. (Duty Trial Tr. 189, vol. II, Oct. 8, 2008.) Evans and Lee

subsequently became partners. They bought crack in Burlington and distributed it

in the Bristol area. They imported as much as five kilograms of cocaine on each trip.

For approximately two or three years, Evans regularly dealt in kilograms.

      Evans testified that when Lee moved to the Bristol area, Mumphrey came with

him. Mumphrey originally worked for Lee, but then established his own distribution

ring with the help of Vaughn and Reginald Morton. Evans knew that Mumphrey had

sold crack from a mobile home on Anderson Street in Bristol, Tennessee. He added

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that across that street was Morton, selling from a different mobile home. Mumphrey

eventually supplied Evans; first with small quantities but then with kilograms.

      Additionally, Evans testified that he had used the profits from his drug trade

to establish a music recording label called Kant Stop Records. It involved several of

his codefendants, including Marcus Watkins, Slade, Andre Watkins, and King. After

the company failed financially, some of its members joined Evans in his drug

pursuits.

      Evans explained that his cohorts helped him maintain his drug business while

he was jailed on state charges for possession of marijuana. During trial, the

government introduced telephone calls that Evans had made from a local jail. During

one conversation, Evans directed Anderson “to cut [his] phones off.” (Stallworth

Trial Tr. 32, vol. I, Oct. 28, 2008.) Evans, Lee, Mumphrey, and Vaughn used cell

phones to communicate with their customers. The phones were vital: Evans testified

that approximately 70 to 100 addicts in the area knew his number and that

approximately 500 addicts knew the number of either Evans, Lee, Mumphrey, or

Vaughn. While Evans was in jail, Mumphrey obtained Evans’ phones and gave them

to Lee so that Lee could make money. Lee had again left Burlington for Bristol. He

distributed crack from Cato’s house with help from Mumphrey and Vaughn. That




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attracted attention, and law enforcement executed a search warrant there. Because

of that, Evans ordered Anderson to cut the phones off.

      The recorded jail conversations also demonstrated Evans’ relationship with his

family. Evans testified that he had attempted to isolate his wife and children from his

drug business.

      Evans testified against specific defendants. He stated that he had sold crack

from Duty’s car shop on Sixth Street in Bristol, Tennessee, that he had paid Duty

crack for rent, and that Duty often served as a middleman between him and other

users who frequented Duty’s shop. Stallworth and Baumgardner bought crack from

Evans at Evans’ garage on Mary Street in Bristol, Virginia.                Occasionally,

Baumgardner and Stallworth did errands for Evans in return for crack.

                                            2

       After the first three trials, Vaughn and Evans sent a series of letters to the court

in which they recanted their prior testimony. At the evidentiary hearing, Vaughn and

Evans testified under oath and insisted that the statements in their letters were true.

      In his recanting letters to the court and at the evidentiary hearing, Vaughn

contended that he had been coerced into his Plea Agreement and that he had

fabricated his testimony at the Grand Jury proceeding and at trial.




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       Vaughn sent his first letter to Baumgardner’s lawyer. He claimed that the

“District Attorney” had stated that if he refused to testify against Baumgardner, he

would receive a life sentence, but that if he testified he would not do any prison time.

(Baumgardner Mot. for Acquittal or a New Trial, Ex. 1, Dec. 17, 2008.) Vaughn also

stated that “they” had promised to find him a job if he cooperated, and mentioned that

he had a tape recording of Mumphrey stating that the “dope” was not Vaughn’s. (Id.)

       In a letter dated May 6, 2009, Vaughn asked to withdraw his guilty plea. He

maintained that his statements to the Grand Jury were false, that he was coerced by

his lawyer, the prosecutor, and law enforcement personnel, and that he had a tape

recording of Burlington Police Detective Dalton Majors threatening him with a life

sentence.4 Vaughn stated that he signed his Plea Agreement because his lawyer and

the prosecutor told him that he would get a life sentence without it. Vaughn insisted

that his family would testify to demonstrate that he had been threatened.

       Vaughn repeated these same statements in a letter dated May 13, 2009, but

added detail. He stated that while in court, he was unable to speak because the United

States Marshals Service had intimated him and that the presiding judge and the

prosecutor had manipulated his lawyer. He also added that Detective Majors, the


       4
         In his letters, Vaughn referenced a “Detective Myers.” At the evidentiary hearing,
it was explained that “Detective Dalton Majors” is the correct name, and I will refer to him
in that manner.

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prosecutor, and Drug Enforcement Administration Special Agent Todd Brewer used

subornation of perjury against him and that while speaking to Agent Brewer he had

been denied an attorney. Vaughn asserted that Detective Majors had threatened him

with a life sentence if he did not travel to Bristol, Tennessee, to speak with Agent

Brewer. Vaughn stated that during his interview with Agent Brewer, he was shown

pictures of defendants in this case and made false statements about each of them.

Finally, Vaughn alleged that the prosecutor and his attorney lied to his mother and

that the court had abused its power.

      During the evidentiary hearing, several undated letters to the court from

Vaughn were admitted as exhibits. In his first letter, he alleged that Agent Brewer

had told him that if he cooperated, he would not be charged with conspiracy. He

claimed to have lied about Mumphrey and Morton because Mumphrey had severely

beaten him. He claimed that the threats made by Agent Brewer, the prosecutor, and

Detective Majors were recorded on a tape. He alleged that Detective Majors had

attempted to force him to buy drugs off of people he did not know and had refused

him an attorney. He averred that the prosecutor had tried to intimidate other

defendants with letters which stated that Vaughn was going to get a life sentence

because of his recantations. Vaughn claimed that he had lied for the benefit of his

mother.

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      In another letter admitted during the hearing, Vaughn claimed that every

statement made in this case had been based on hearsay. He again claimed that the

prosecutor and law enforcement officers had coerced and threatened him. He

mentioned two tapes: one with an exculpatory statement by Mumphrey and another

with the DEA stating that he did not need a lawyer. He then listed twenty defendants

he had lied about.

      In a different letter, Vaughn specifically mentioned Reginald Morton, and

claimed that the statements he made about him were false. He stated that “the people

that are testifying against Morton I got them indicted, now there lieing [sic] on him

to get a lesser sentence and nobody period would be testifying against Morton if I

wouldn’t have lied about the hole [sic] case .” (Hr’g Def.’s Ex. 3, June 18, 2009.) He

also stated that his lawyer and the prosecutor had told him that if he did not

cooperate, Robert Meade would testify against him at trial.

      At the evidentiary hearing, Vaughn’s counsel advised him to assert the Fifth

Amendment privilege to avoid self-incrimination. Nonetheless, Vaughn testified that

he had lied during the first trial. He stated that he had made a mistake when he

pleaded guilty. He alleged that Detective Majors and Agent Brewer had promised

that he would not go to jail if he cooperated, and that he had lied at trial when he

testified that the government had not promised him anything for his cooperation. He

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admitted that he had committed perjury and cited a statute that pertained to

subornation of perjury.

      Vaughn testified that he had lied during the second trial and that his statements

in his letter to Baumgardner’s attorney were true and that he had written them without

help. He stated that he had never seen Baumgardner “with crack cocaine a day in

[his] life . . . .” (Hr’g Tr. 25, June 18, 2009.) He insisted that he did not know

Baumgardner, and that he didn’t know anything about him being a valuable customer

of Mumphrey’s. He claimed to be unable to remember that at trial he had described

different drug amounts and how much they cost. He testified that he had lied when

he said Baumgardner went to Mumphrey’s mobile home to buy crack and that he had

lied when he testified in front of the Grand Jury.

      Additionally, Vaughn recanted every incriminating statement he had made

about Stallworth. He testified that he did not know Stallworth and that he had never

seen him outside of court. He also believed that Detective Majors tricked him into

talking with Agent Brewer.

      When questioned by the prosecutor, Vaughn claimed that he had been a drug

dealer in the past, but since then he had had a religious experience, and therefore did

not remember anything about his former drug trade. He acknowledged that a snitch

was someone who cooperated with the government, and that people in jail often

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assaulted snitches. He testified that in jail he had been housed with Baumgardner,

Marcus Watkins, Reginald Morton, King, Duty, and Mumphrey. After he had been

housed with Baumgardner, he began to write letters to the court recanting his

testimony.

      Vaughn testified that when he met with Agent Brewer, other law enforcement

officers from Virginia and Tennessee were present. He affirmed that he had provided

information about drug activity in the area, and that he had identified different

locations in Bristol that were associated with drug activity. He agreed that his

testimony at the Grand Jury proceeding was similar to the information he provided

to law enforcement.

      When asked about his trial testimony against Baumgardner and Stallworth,

Vaughn stated that “Satan had me so much in bondage I don’t remember what day it

was and what I said.” (Id. at 62.) When asked which agent from the Federal Bureau

of Investigation had coerced him, he provided Agent Brewer’s name, who works for

the DEA. Vaughn testified that he had given Agent Brewer false statements, and that

Agent Brewer had included those false statements in Vaughn’s affidavit. Vaughn

claimed to have reviewed that affidavit before he testified at the Grand Jury

proceeding. Vaughn gave varying explanations for why the handwriting in each of

his letters were different.

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      In response to my questions during the hearing, Vaughn believed that he was

not at risk for recanting his testimony under oath, based on his understanding of

subornation of perjury.

      After the evidentiary hearing, Vaughn filed a pro se Motion to Withdraw Guilty

Plea. He claimed that his previous lawyer had threatened him with an inadmissible

statement, which caused him to lie about fifty-one defendants, and withdrew as

counsel, which violated his Sixth Amendment right to counsel. He repeated the same

statements about Agent Brewer and Detective Majors, but added that Detective

Majors had brought him to Tennessee without a warrant, which was “abduction.”

Finally, he averred that he had not had access to discovery materials before he signed

his Plea Agreement.

      Evans also provided recanting letters and statements to the court. On March

17, 2009, in a sworn affidavit, Evans stated that if he was called as a witness against

Morton, he would testify that Morton was not involved in the conspiracy, and that

this case was “based on lies [and] threats.” (Hr’g Gov’t Ex. 13, June 18, 2009.)

      In his letter to the court dated April 12, 2009, Evans maintained that he had

sold only user quantities, and knew only twenty-six of the fifty-one defendants

indicted in the case. Notably, Evans stated that he would “continue to willingly and

truthfully testify[,]” and only asked that “this so-called conspiracy . . . be looked

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into.” (Hr’g Gov’t Ex. 12, June 18, 2009.) Finally, in a letter dated May 18, 2009,

Evans claimed that while housed in the same jail cell, he and Lee had fabricated

stories to make their proffer statements to the government appear more attractive.

      At the evidentiary hearing, Evans claimed that he had falsified part of his trial

testimony.    He indicated that he and Lee had exaggerated the extent of the

collaboration between them. He denied that he and Lee had worked together to

transport drugs from Burlington to Bristol, that he had robbed dealers of their drug

supply, that he had given Lee and Mumphrey a location and phones to make money,

or that he had established a mobile home for Mumphrey’s use in selling drugs.

      On the other hand, Evans confirmed other aspects of his testimony. He related

that he had truthfully testified about Duty, Davis, Baumgardner, and Stallworth. He

confirmed that the government had not made any promises to him, except for those

contained in his Plea Agreement. He admitted that he was a drug dealer. Yet he

stated that based on his “legal studies” in jail, he believed that he could get out of his

Plea Agreement because of duress. (Hr’g Tr. 94, June 18, 2009.)

                                            B

      A motion for a new trial based upon a witness’s recantation should be granted

only when:




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      (a) The court is reasonably well satisfied that the testimony given by a
      material witness is false. (b) That without it the jury might have
      reached a different conclusion. (c) That the party seeking the new trial
      was taken by surprise when the false testimony was given and was
      unable to meet it or did not know of its falsity until after the trial.

United States v. Wallace, 528 F.2d 863, 866 (4th Cir. 1976) (adopting the test of

Larrison v. United States, 24 F.2d 82, 87-88 (7th Cir. 1928), overruled by United

States v. Mitrione, 357 F.3d 712 (7th Cir. 2004) (asking instead whether there was a

reasonable probability that without the recanted testimony the jury would have

reached a different conclusion)).

      Because I find that the recantations of Vaughn and Evans are not credible, I do

not believe that their trial testimony was false. In comparison to their testimony at

trial, the recantations are overwhelmingly inconsistent and unreliable. I also find that

the recantations were partly motivated by the pressure or intimidation likely exerted

on them by their codefendants in prison, and partly motivated by the misguided and

self-created illusion that by recanting their trial testimony, they would somehow

avoid punishment for their crimes.

      I do not believe that either Vaughn or Evans fabricated their prior trial

testimony. Vaughn’s testimony at the Grand Jury proceeding and at two trials was

consistent. At each proceeding, he identified defendants who had traveled from

Burlington to Bristol to sell crack cocaine, discussed his encounter with law

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enforcement at the motel, and described his arrest at Mumphrey’s mobile home,

where he had worked as a lookout. He also related a transaction between him, Lee,

and Mumphrey that involved $18,000, a kilogram and a “big eight.” (Hr’g Gov’t Ex.

1 at 18, June 18, 2009.)           He identified Mumphrey’s customers, including

Baumgardner, Stallworth, and Marcus Watkins. At the Grand Jury proceeding,

Vaughn described the girlfriend of Marcus Watkins, Le Ann Berry, who helped

Watkins sell crack, as “real, real tall” (id. at 22), and at trial, testified that her street

name was “Seven [F]ooter.” (Duty Trial Tr. 77, vol. I, Oct. 7, 2008.)

       Likewise, Evans described similar events at each of the first three trials. For

example, he testified that in Burlington, he had robbed other drug dealers of their

supply; that with the help of Pride and Lee he had bought crack in Burlington and

distributed it in Bristol; that Lee had taken his “spot” when he traveled to Atlanta

(Duty Trial Tr. 189, vol. II, Oct. 8, 2008); that Mumphrey had distributed crack from

a mobile home on Anderson Street in Bristol and that Vaughn had helped him; and

that he had attempted to start a recording label, Kant Stop Records.

       Vaughn and Evans testified that they became involved with drugs in

Burlington. Evans’ testified that he robbed drug dealers, and Vaughn stated that

Evans “would basically man handle somebody, or take their drugs . . . .” (Id. at 66.)

Vaughn stated that the members of Kant Stop Records had been known to sell drugs,

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and Evans testified that members assisted him in his drug dealings when the company

failed. Vaughn testified that Mumphrey and Lee ran Evans’ drug business while he

was in jail, and Evans testified that Mumphrey had taken his phones, which contained

valuable customer lists, and had given them to Lee to continue dealing drugs.

      Statements made by other witnesses at trial who have not recanted corroborate

the prior testimony of Vaughn and Evans. For instance, both Timothy Norton and

Gregory Meade testified that they had bought small amounts of drugs from

Stallworth, consistent with Vaughn’s testimony that Stallworth regularly bought

quarter-ounces of crack from Mumphrey, and with Evans’ testimony that he had sold

Stallworth crack and that Stallworth acted as a middleman between him and users.

      Compared to their trial testimony, I find that the recanting statements by

Vaughn and Evans are not credible.

      Vaughn’s contention that he was coerced into signing his Plea Agreement is

unpersuasive. At both his guilty plea hearing and at trial, he stated under oath that

he understood the terms of his Plea Agreement and affirmed that no promises had

been made to him. In his letters and at the evidentiary hearing, Vaughn gave varying

explanations as to why he believed that he had been coerced. For instance, in his first

letter, Vaughn explained that the prosecutor had threatened him with a life sentence

if he did not testify against Baumgardner and that he would be given a job in return

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for his cooperation. But on January16, 2009, at a meeting with the prosecutor, Agent

Brewer, DEA Agent Mike Baker, and Vaughn’s attorney, Vaughn told Agent Brewer

that he wrote his first letter because “he felt very guilty seeing Mr. Baumgardner and

knowing that [he] was possibly looking at a sentence of life . . . .” (Hr’g Tr. 120, June

18, 2009.) In later letters, Vaughn did not mention Baumgardner, but alleged that he

had been threatened not only by the prosecutor, but also by his own lawyer and law

enforcement personnel. Yet at the January 16, 2009 meeting, Vaughn told Agent

Brewer that “he was not threatened or coerced to cooperate.” (Id.)

      Similarly, the more general allegations made by Vaughn and Evans fluctuate

from letter to letter. For example, Vaughn mentions that he has tape recordings of

various threats and promises. In his first letter, he mentions a tape recording of

Mumphrey stating that the dope discovered at his arrest in November, 2007 did not

belong to Vaughn. In his letter dated May 6, 2009, Vaughn claimed to have a tape

recording of Detective Majors threatening him with a life sentence. Vaughn made the

same statement in a subsequent letter, but implicated Agent Brewer and the

prosecutor. A different letter stated that Vaughn had a tape of a DEA agent telling

him that he did not need a lawyer. In the end, the only tape presented to the court

evidenced a phone call between Vaughn and Detective Majors, and it revealed no

threats or promises.

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      Vaughn made allegations against the Marshals Service, the court, and the

prosecutor. He believed that the court and prosecutor had manipulated his attorney,

that the prosecutor had threatened and lied to his mother, that the prosecutor had tried

to intimidate other defendants, and that the Marshals Service prevented him from

speaking in court. There is simply no evidence to validate these claims.

      In one instance, Vaughn claimed that he lied about Mumphrey because

Mumphrey had beaten him and that he lied for the benefit of his mother. In another

instance, he claimed that each of his statements in this case were based on hearsay.

In one letter, Vaughn mentioned only Reginald Morton, but in another, he listed the

names of twenty defendants he had lied about.

      At the evidentiary hearing, Vaughn claimed that he had made a mistake when

he pleaded guilty. In his testimony, he displayed a religious influence. He claimed

that he could not remember his prior testimony about different drug terms because he

had been “resurrected” and that he could not remember his prior testimony about

Stallworth and Baumgardner because at their trial “Satan had [him] so much in

bondage . . . .” (Hr’g Tr. 63, June 18, 2009.)

      After the evidentiary hearing, Vaughn filed a pro se Motion to Withdraw Guilty

Plea that conflicts with the statements he made in his letters and with his testimony

at the evidentiary hearing. He claimed that his attorney had threatened him with an

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inadmissible statement, that he had been abducted by Detective Majors, and that he

had not reviewed his discovery materials before he signed his Plea Agreement.

      That Vaughn was abducted by Detective Majors was directly contradicted by

Agent Brewer’s testimony at the evidentiary hearing. Agent Brewer testified that

Vaughn had volunteered to travel to Bristol, and that Detective Majors and another

officer had driven him there.

      Evans’ recanting statements contain inconsistencies as well. In his first

recanting statement, Evans stated that he would refuse to testify against Reginald

Morton, and that this case was “based on lies [and] threats.” (Hr’g Government’s Ex.

13, June 18, 2009.) Yet in a later letter, Evans expressed a willingness to continue to

cooperate. Not until his final letter did Evans state that he and Lee had fabricated

their stories. At the evidentiary hearing, Evans claimed to have lied about his

cooperation with Lee, but confirmed other aspects of his trial testimony.

      Furthermore, the timing of the letters suggest that other defendants in this case

pressured or manipulated Vaughn and Evans.           After he had been jailed with

Baumgardner, Vaughn wrote his first letter, which specifically mentions

Baumgardner. Evans did not recant until he learned that he would testify at the fourth

trial. Lee also wrote a recanting letter to the court, in which he claimed to have




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exaggerated the extent of his cooperation with Evans, but at the fourth trial he

testified that King had forced him to write it while they were jailed together.

       Relatedly, the letters sent by Vaughn and Evans display inconsistent

handwriting styles, which suggests that someone other than Vaughn or Evans wrote

them, and I find the attempts by Vaughn and Evans to explain that fact unpersuasive.

       At the evidentiary hearing, Vaughn and Evans acknowledged that they had

breached their Plea Agreements and committed perjury. But they acknowledged as

much not to enhance the credibility of their recantations, as Baumgardner and

Stallworth argue here. They did so based on their mistaken and uninformed view

that the concepts of duress, subornation of perjury, and coercion would ultimately set

them free, irrespective of whether they adhered to the terms in their Plea Agreements,

and regardless of whether they committed perjury. This does not demonstrate a

sincere concern for the truth. Vaughn and Evans are simply trying to game the

system.5




       5
          Because I believe the trial testimony of Vaughn and Evans, I need not consider the
remaining two factors under Wallace. See United States v. Carmichael, 726 F.2d 158, 159
(4th Cir. 1984) (“The failure to meet any of [these] requirements is fatal . . . .”).

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                                          III

      The evidence adduced at trial was sufficient for a reasonable jury to convict

both Baumgardner and Stallworth of conspiracy to distribute, to attribute fifty grams

or more of crack cocaine to Stallworth, and to convict Baumgardner of maintaining

a place for drug distribution.

                                         A

      Both Baumgardner and Stallworth argue that there was insufficient evidence

for a reasonable jury to find they were involved in the drug conspiracy that the

government established at trial, and Stallworth argues that the evidence was

insufficient to attribute fifty grams of crack cocaine to him. I disagree.

      A conviction must be sustained if, viewed in the light most favorable to the

government, there is substantial evidence to support it. See Glasser v. United States,

315 U.S. 60, 80 (1942). I must determine “whether ‘any rational trier of fact could

have found the essential elements of the crime [charged] beyond a reasonable

doubt.’” United States v. Capers, 61 F.3d 1100, 1107 (4th Cir. 1995) (quoting

Jackson v. Virginia, 443 U.S. 307, 319 (1979)).

      Although a motion for a new trial may also be based on insufficient evidence,

“a court ‘should exercise its discretion to grant a new trial “sparingly,” and . . . it

should do so “‘only when the evidence weighs heavily against the verdict.”’” United

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States v. Perry, 335 F.3d 316, 320 (4th Cir. 2003) (quoting United States v. Wilson,

118 F.3d 228, 234 (4th Cir. 1997)).

       To prove conspiracy, “‘the government must show, first, that a conspiracy

existed; then, that the defendant had knowledge of the conspiracy; and finally, that

the defendant voluntarily became a part of the conspiracy.’” Capers, 61 F.3d at 1107

(quoting United States v. Bell, 954 F.2d 232, 236 (4th Cir. 1992)).

       Both defendants concede that the government proved a conspiracy, but contend

that they never joined that conspiracy.

       As the Fourth Circuit has explained “‘one may be a member of a conspiracy

without knowing its full scope, or all its members, and without taking part in the full

range of its activities.’” Id. at 1108 (quoting United States v. Banks, 10 F.3d 1044,

1054 (4th Cir. 1993)). Indeed, there must only be “a slight connection between the

defendant and the conspiracy to support conviction.”6 United States v. Brooks, 957

F.2d 1138, 1147 (4th Cir. 1992).

       The totality of the circumstances shown by the government may suffice to

prove the agreement necessary for a conspiracy conviction. See United States v.



       6
         Baumgardner criticizes the “slight connection rule” as one which criminalizes “mere
association.” See Burgos, 94 F.3d at 878 (Michael, J., dissenting in part and concurring in
part). However, as he acknowledges, that is the law in this circuit and must be applied here.


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Burgos, 94 F.3d 849, 857-58 (4th Cir. 1996) (en banc). Because a conspiracy is

typically covert, there is rarely any direct evidence of an agreement between the

members.      See id. at 857.   In fact, a conspiracy may be proven entirely by

circumstantial evidence, including “a defendant’s ‘relationship with other members

of the conspiracy, the length of this association, the defendant’s attitude and conduct,

and the nature of the conspiracy.’” Id. at 858 (alterations omitted) (quoting United

States v. Collazo, 732 F.2d 1200, 1205 (4th Cir.1984)).

      I find that there was substantial evidence from which the jury could conclude

beyond a reasonable doubt that both Baumgardner and Stallworth joined the charged

conspiracy.

      Evans testified that he sold Baumgardner three-and-a-half grams of crack four

or five times during a one-year period, while typical users normally purchased only

a half-gram or one gram. Vaughn explained that Baumgardner purchased quarter-

ounces of crack from Mumphrey three to four times a day in 2007.7 Indeed,

Mumphrey had nicknamed Baumgardner his “VIP.” (Stallworth Trial Tr. vol. I, 107,

Oct. 28, 2008.) Mumphrey supplied Evans—during approximately a three-year

period, Evans bought ounces of cocaine from him weekly. Calhoun, an addict,




      7
          One ounce equals 28.35 grams.

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testified that she took someone to Baumgardner to buy drugs. Meade testified that

he had purchased small amounts of crack from Baumgardner at his house.

       Stallworth distributed crack, too. Evans testified that Stallworth had served as

a middleman, and had purchased half-grams, grams, and eight-balls (3.5 grams) of

crack from him three times a week.8 Vaughn testified that for one year Stallworth had

regularly purchased quarter-ounces of crack from Mumphrey at a motel in Bristol,

Tennessee. When Mumphrey moved his operation to a mobile home on Anderson

Street, Stallworth went there to buy half-grams and eight-balls.

       Lee testified for the government. Evans partnered with Lee. At times, Lee

would supply Evans, and on one occasion, Lee and Evans combined resources to buy

drugs and divided the proceeds from the sale of those drugs evenly. Lee testified that

he had met Stallworth through Evans at Cato’s house. Evans rented the bottom half

of Cato’s house to distribute drugs, and Lee had witnessed Stallworth buy “an eight-

ball to a quarter” of crack there. (Id. at 150.) Additionally, Norton testified that he

had purchased a half-gram of crack from Stallworth. From this evidence the jury

could reasonably infer that both Baumgardner and Stallworth served as low-level




       8
           Though at trial Evans was unable to indicate when this relationship began, he
testified that it continued until he was “locked up in Sullivan County” in November 2007 in
Tennessee. (Stallworth Trial Tr. vol. I, 17, Oct. 28, 2008.)

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street distributors for the Evans drug organization, and could reasonably attribute fifty

grams or more of crack to Stallworth.

      Both defendants maintain that this evidence is insufficient for a conspiracy

conviction because it merely established a buyer-seller relationship between them,

citing cases from the Seventh and Tenth Circuits.9

      I disagree that the evidence demonstrated nothing more than a buyer-seller

relationship. Calhoun and Meade both testified that Baumgardner had sold crack.

Baumgardner bought substantial amounts of crack from Evans and Mumphrey. Lee

witnessed Stallworth buy crack from Evans at Cato’s house, and Norton testified that

he had bought crack from Stallworth.

      In sum, the evidence showed that Baumgardner and Stallworth frequently

bought crack from high-level members of the Evans drug organization and sold it to

various users on multiple occasions. This certainly qualifies as more than “evidence

of a buy-sell transaction.” United States v. Mills, 995 F.2d 480, 485 n.1 (4th Cir.

1993). And even if it did not, “evidence of a buy-sell transaction, when coupled with

a substantial quantity of drugs, would support a reasonable inference that the parties

were coconspirators.” Id.


      9
         See United States v. Goines, 988 F.2d 750, 759 (7th Cir. 1993); United States v.
Townsend, 924 F.2d 1385, 1394 (7th Cir. 1991); United States v. Kimmons, 917 F.2d 1011,
1016 (7th Cir. 1990); United States v. Watson, 594 F.2d 1330, 1337 (10th Cir. 1979).

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       I find that, viewed in the light most favorable to the government, there was

substantial evidence to prove beyond a reasonable doubt that Baumgardner and

Stallworth participated in the conspiracy proven at trial and that fifty grams or more

of crack cocaine were attributable to Stallworth.

                                             B

       Baumgardner also challenges his conviction under 21 U.S.C.A. § 856(a)(1),

which states that “it shall be unlawful to . . . knowingly open, lease, rent, use, or

maintain any place, whether permanently or temporarily, for the purpose of

manufacturing, distributing, or using any controlled substance . . . .”

       Baumgardner contends that the government must prove that his “sole, primary

and/or exclusive ‘purpose’ for maintaining [his] residence” was to distribute drugs.

(Def.’s Mot. for J. of Acquittal & New Trial 7.) I disagree.

       The Fourth Circuit has not articulated what is required of the government for

it to prove the “for purpose of” element in 21 U.S.C.A. § 856(a)(1). Other courts are

in disaccord. See, e.g., United States v. Verners, 53 F.3d 291, 296 (10th Cir. 1995)

(stating that “at least in the residential context, [the drug activity] must be at least one

of the primary or principal uses to which the house is put”); United States v. Banks,

987 F.2d 463, 466 (7th Cir. 1993) (determining whether the defendant maintained the

premises as a “supervisor, manager, or entrepreneur”); United States v. Church, 970

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F.2d 401, 406 (7th Cir. 1992) (finding the evidence sufficient when it “established

significant commercial sales”).

      To the extent Baumgardner reads the statute to penalize only those who

maintain residences for the exclusive purpose of illegal drug activity, he ignores the

plain language. See United States v. Roberts, 913 F.2d 211, 220 (5th Cir. 1990)

(explaining that if Congress intended such a limited meaning, “it would have said

so”). That restricted view “would eviscerate the statute, since it is highly unlikely

that anyone would openly maintain a place for the purpose of manufacturing and

distributing cocaine without some sort of ‘legitimate’ cover . . . .” Id.

      Nor must the government prove that the drug activity was the primary purpose

of maintaining the place, but rather must show only that the drug activity was a

significant purpose. See United States v. Soto-Silva, 129 F.3d 340, 346 n. 4 (5th Cir.

1997) (stating that the statute “does not require that drug distribution be the primary

purpose, but only a significant purpose”); United States v. Gibson, 55 F.3d 173, 181

(5th Cir. 1995) (affirming conviction because the drug activity “was one of the

purposes for which [the defendant] maintained the [premises]”).

      Based on these principles, the jury received the following instruction at trial:

            To find the defendant guilty of this crime the government must
      prove beyond a reasonable doubt that he:



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             (1)   knowingly or intentionally;

             (2)   opened, leased, rented, used or maintained a place;

             (3)   for the purpose of distributing a controlled substance.

             The government is not required to prove that the drug activity was
      the primary purpose of defendant’s using or maintaining a place, but
      instead must prove that drug activity was a significant reason why [the]
      defendant used or maintained the place.

(Instruction No. 19.)

      I find that there was substantial evidence from which the jury could convict

Baumgardner of knowingly maintaining a place for the distribution of a controlled

substance.

      Baumgardner resided at 1007 New Hampshire Avenue in Bristol, Virginia.

Norton testified that in addition to smoking crack there, he had bought drugs from

individuals at that house on a regular basis.      He explained how drugs were

distributed: A customer would place an order for drugs in one section of the house

and then proceed to a different room in the back where the drugs were delivered.

Calhoun testified that she had taken a buyer to the house, who then purchased drugs

from Baumgardner. Meade also bought crack from Baumgardner at this location.

      As a member of a DEA task force in Roanoke, Virginia, Detective Anthony

Ayers executed a search warrant at Baumgardner’s house. At trial, he explained that



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he had discovered syringes and crack pipes lying across the floor. He also found

digital scales, which he characterized as instruments that drug dealers employ in their

trade.

         From this evidence the jury could reasonably infer that the distribution of drugs

was a significant reason why Baumgardner maintained the residence. Thus, the jury

could conclude beyond a reasonable doubt that Baumgardner knowingly maintained

a place for the distribution of a controlled substance. 10



                                             IV

         Baumgardner and Stallworth contend that the government failed to disclose

evidence that could have been used to impeach Vaughn, in violation of Brady v.

Maryland, 373 U.S. 83 (1963).



         10
           For support, Baumgardner cites United States v. Tamez, 941 F.2d 770 (9th Cir.
1991) and United States v. Clavis, 956 F.2d 1079 (11th Cir. 1992). Tamez held that under
21 U.S.C.A. § 856(a)(2), the government need not prove that the defendant intended to
engage in drug activity by opening or maintaining a place as is required under 21 U.S.C.A.
§ 856(a)(1), since that would render § 856(a)(2) superfluous. 941 F.2d at 774. In Clavis, the
court considered “acts that might constitute knowingly maintaining,” which are different than
“the statutory purpose acts, . . . of manufacturing, distributing, or using.” 956 F.2d at 1091
(internal quotes omitted).

        Neither Tamez nor Clavis speaks to the relevant issue here. Baumgardner was not
convicted of violating 21 U.S.C.A. § 856(a)(2). Nor does he claim that the government
failed to prove that he knowingly maintained the house in question.

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      In Brady v. Maryland, the Court held “that the suppression by the prosecution

of evidence favorable to an accused upon request violates due process where the

evidence is material either to guilt or to punishment, irrespective of the good faith or

bad faith of the prosecution.” Id. at 87. The three necessary elements of a Brady

claim are: “(1) the evidence must be favorable to the accused; (2) it must have been

suppressed by the government, either willfully or inadvertently; and (3) the

suppression must have been material.” Monroe v. Angelone, 323 F.3d 286, 299-300

(4th Cir. 2003) (citing Strickler v. Greene, 527 U.S. 263, 281-82 (1999)). In this

context, “favorable evidence is material, and constitutional error results from its

suppression by the government, ‘if there is a reasonable probability that, had the

evidence been disclosed to the defense, the result of the proceeding would have been

different.’” Kyles v. Whitley, 514 U.S. 419, 433 (1995) (quoting United States v.

Bagley, 473 U.S. 667, 682 (1985) (opinion of Blackmun, J.)). The disclosure

requirement covers both impeachment material and other exculpatory evidence. Id.

      Baumgardner and Stallworth maintain that the government failed to disclose

that Detective Majors had promised Vaughn that he would not be charged with drug

offenses in state court.

      It is unclear from the record whether Agent Brewer had concrete knowledge

of any promise made by Detective Majors to Vaughn. At the evidentiary hearing,

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Agent Brewer testified that while he spoke to Vaughn at a proffer session, he had

been “under the impression” that Vaughn “was not going to be charged with

[previous] drug buys in Burlington.” (Hr’g Tr. 135, June 18, 2009.) But Agent

Brewer was unsure as to whether Detective Majors had told Vaughn that he would

not be charged in North Carolina, and he was unsure as to whether Vaughn had

expected to avoid any state charges in Virginia or Tennessee through his cooperation.

He confirmed that he “wouldn’t know what Mr. Majors did or did not say to Mr.

Vaughn about those charges[.]” (Id. at 129.)

      Assuming that Detective Majors promised Vaughn that he would not be

charged with a state offense, I find that even if the government had disclosed this

information, the result of the proceeding would not have been any different. Even

without Vaughn’s testimony, the evidence against Baumgardner and Stallworth was

sufficient to convict them beyond a reasonable doubt. Vaughn’s testimony that

Baumgardner bought large quantities from Mumphrey was corroborated by Evans,

who also sold Baumgardner non-user amounts, and by Calhoun and Meade, who

bought from Baumgardner. That Stallworth bought large amounts from Mumphrey

was corroborated by Evans’ testimony that Stallworth acted as a middleman, and by

Norton’s testimony that he bought from Stallworth. Under these circumstances, the

presumed failure to disclose was not material.

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                                   V

   For the foregoing reasons, it is ORDERED as follows:

   1.    The Motion for Judgment of Acquittal Or in the Alternative for a New

         Trial on behalf of Bruce Edward Baumgardner is DENIED; and

   2.    The Motion for Judgment of Acquittal, the Motion for New Trial, and

         the Second Motion for New Trial on behalf of Douglas Lee Stallworth

         is DENIED.



                                 ENTER: August 6, 2009

                                 /s/ JAMES P. JONES
                                 Chief United States District Judge




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